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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


RICHARD ASLIN, KETURAH BIXBY,
JESSICA CANTLON, BENJAMIN HAYDEN,
SARAH HEILBRONNER, CELESTE KIDD,                             STIPULATION AND ORDER
BRADFORD MAHON, ELISSA NEWPORT,                              ENLARGING TIME
and STEVEN PIANTADOSI


                                      Plaintiffs,

                                                             Case No.: 6:17-cv-06847-DGL

Vs.

UNIVERSITY OF ROCHESTER,
JOEL SELIGMAN, and ROBERT CLARK

                                      Defendants


       IT HEREBY IS STIPULATED, by and between the undersigned, as counsel for all

parties, that plaintiffs’ time to respond to defendants’ motion to dismiss the Complaint shall be

enlarged up to and including March 5, 2018.


MCALLISTER OLIVARIUS                          WARD GREENBERG HELLER & REIDY LLP

s/ John F. McAllister                                s/Eric J. Ward

John F. McAllister                                   Eric J. Ward
Attorneys for Plaintiffs                             Attorneys for Defendants
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IT IS SO ORDERED.


Dated: February 12, 2018                     ___________________________
      Rochester, New York                     Honorable David G. Larimer
                                              United States District Court Judge
